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                          UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF TEXAS
                              GALVESTON DIVISION

LOCKWOOD INTERNATIONAL, INC.

VS.

WELLS FARGO BANK, NATIONAL
ASSOCIATION; ET AL
                                                                       C. A. NO. 3:17-CV-365
V.

LOCKWOOD ENTERPRISES, INC., ET
AL
        Third-Party Defendants.

              THIRD-PARTY DEFENDANT MICHAEL F. LOCKWOOD’S
                REPLY IN SUPPORT OF MOTION TO EXTEND STAY

TO THE HONORABLE UNITED STATES DISTRICT JUDGE:

       COMES NOW Third Party Defendant Michael F. Lockwood, and files this Reply in

support of Motion to Extend the Automatic Stay (D.E. 41).

A.     This Court should exercise its discretion to extend the automatic stay of 11
       U.S.C. section 362, or stay this case while issues are resolved in the bankruptcy
       action.

       It is entirely within this Court’s purview to issue a protective stay even if a section 362

stay would be inappropriate. Gulf Coast Hotel–Motel Ass'n v. Miss. Gulf Coast Golf Course

Ass'n, 2010 WL 972248, at *3 (S.D. Miss. Mar. 12, 2010). District courts may exercise their

discretion to stay a proceeding against non-debtors "in the interests of justice and in control

of their dockets." Wedgeworth v. Fibreboard Corp., 706 F.2d 541, 545 (5th Cir.1983).

"Proper use of this authority ‘calls for the exercise of judgment, which must weigh competing
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interests and maintain an even balance.'" Wedgeworth, 706 F.2d at 545 (quoting Landis v.

N. Am. Co., 299 U.S. 248, 254–55 (1936)). "A stay can be justified only if, based on a

balancing of the parties' interests, there is a clear inequity to the suppliant who is required to

defend while another action remains unresolved and if the order granting a stay can be

framed to contain reasonable limits on its duration." GATX Aircraft Corp. v. M/V Courtney

Leigh, 768 F.2d 711, 716 (5th Cir.1985) (citing Wedgeworth, 706 F.2d at 545).

       Courts in other jurisdictions also recognize the inherent power to stay an action

pending the conclusion of an alternative proceeding. See, e.g., Leyva v. Certified Grocers of

Cal., Ltd., 593 F.2d 857, 863–64 (9th Cir. 1979) (citing Kerotest Mfg. Co. v. C-O-Two Fire

Equip. Co., 342 U.S. 180, 182–84 (1952)) (“A trial court may, with propriety, find it is

efficient for its own docket and the fairest course for the parties to enter a stay of an action

before it, pending resolution of independent proceedings which bear upon the case. This rule

... does not require that the issues in such proceedings are necessarily controlling of the

action before the court.”). In addition, "[t]he District Court has broad discretion to stay

proceedings as an incident to its power to control its own docket." Clinton v. Jones, 520 U.S.

681, 706–07 (1997). Accord Landis v. North Am. Co., 299 U.S. 248, 253–55 (1936) ("[T]he

power to stay proceedings is incidental to the power inherent in every court to control the

disposition of the causes on its docket with economy of time and effort for itself, for counsel,

and for litigants.").




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        National Oilwell Varco, L.P. v. Mud King Prod., Inc., 2013 WL 1948766 (S.D. Tex.

May 9, 2013) provides clear guidance and authority for this Court to exercise its discretion

to extend the automatic stay while issues related to the validity, applicability, and

enforceability of the indemnity provisions are resolved in a bankruptcy court. Plaintiffs in

Mud King, much like Third-Party Plaintiffs here (hereafter collectively “Wells Fargo”),

argued that the indemnification did not apply to the non-debtor defendants and that the

bylaws did not present “a clear-cut case of contractual indemnity.” Id. at *4. However, the

court in Mud King extended the stay to non-debtors in order to “preserve the sanctity of the

bankruptcy estate, to maintain the status quo, and to avoid potential interference with the

automatic stay.” Id. at *5. The court also recognized that the “automatic stay to preserve the

bankruptcy estate's assets” was crucial “while the Debtor's indemnification obligations are

clarified.” Id.1

        The same needs to preserve the sanctity of the bankruptcy estate, maintain the status

quo, and avoid interference with the automatic stay are present in this case. Faced with

similar arguments about the enforceability and applicability of indemnity provisions, this

Court should follow Mud King’s lead and “on a preliminary basis” and “in the interest of

judicial efficiency” allow the bankruptcy court to take up these issues and adjudicate them.



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          On clarification, to the issue of an amendment of Lockwood International, Inc.’s by-laws (D.E.
42-2, p.1 (notation Bylaws “amended August 2, 2013") on p.5 of that same exhibit, the August 2, 2013,
amendment is clarified, as it relates to requiring at least one director). It is accurate to state the other
Lockwood entity bylaws require indemnification, but as Wells Fargo repeatedly points out, the ultimate
determination of the indemnity is made in the bankruptcy court.

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Id. at *5. This will provide the Bankruptcy court with the opportunity “to develop a full

record . . . and to evaluate the putative indemnity obligations in light of bankruptcy principles

and other law” as was done in Mud King. To Wells Fargo’s point Lockwood “may never”

seek resolution of the indemnity issue before the bankruptcy court, this Court may condition

its stay on resolution of that issue within the bankruptcy court. Part of that resolution

includes whether Lockwood in his capacity as a Director, officer, employee or agent of

Lockwood International, Inc., or any of the other debtor entities.

       Indeed, once the District Court action was stayed in Mud King, the parties moved in

the bankruptcy court for relief from the District Court’s stay. Within five months of the Mud

King decision, the parties had moved the bankruptcy court for relief from the stay, and the

bankruptcy court considered those issues. Ultimately the bankruptcy court continued the

stay granted by the District Court in Mud King, but the point also is a limited stay by this

Court to allow the indemnity issues to be resolved is not unreasonable, and would allow the

issues to be decided where even Wells Fargo states they should be resolved.

       Allowing Wells Fargo to proceed against Lockwood would force Lockwood to incur

further legal costs to defend himself (legal costs that would be subject to an indemnification

claim per the bylaws), as well as to distract him from the primary task, reorganizing the

debtor entities. Of course a Chief Restructuring Officer is in place, but there remain

significant burdens on Lockwood’s time and resources, which in the interest of justice he




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should be allowed to expend on reorganization efforts while the indemnity issues are being

resolved.

       While Wells Fargo disputes the applicability of the indemnity provisions to

Lockwood, as it itself points out, and as Mud King makes clear, there is no requirement for

the District Court to reach the merits of the indemnification issue before extending the

automatic stay on a “on a preliminary basis” and “in the interest of judicial efficiency.” As

stated in Mud King, “this Court does not reach the substantive issues of validity, applicability

or enforceability of those indemnities.” Id. at *5. Ongoing expenses for defense, and any

ultimate liability against Lockwood, will result in an indemnification claim against the

Debtors, which will affect the administration of the bankruptcy estate, and, to the extent the

claim is allowed, possibly to the detriment of other creditors.

B.     The automatic stay of 11 U.S.C. § 362 can be extended to non-debtor parties
       before a bankruptcy court adjudicates the issues

       Wells Fargo states that “Lockwood’s request in this Court to extend the automatic stay

to him personally, also fails because the issue must first be addressed and successfully

adjudicated by the Bankruptcy court under 11 U.S.C. §105.” D.E. 42, p. 11. However, this

argument ignores what the court did in Mud King. There, the district court extended the stay

to the non-debtors before the indemnification issues were adjudicated in a bankruptcy court.

When District Judge Nancy Atlas ruled in the Mud King case to extend the stay to non-

debtors, she recognized the scope of the automatic stay was “principally within a bankruptcy

court’s bailiwick,” but specifically granted the Individual Mud King Defendants' request for


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a stay to allow for the Bankruptcy court to conduct a fulsome investigation of the facts and

the law as to the indemnities purportedly created by the Amended Bylaws. Mud King at *6.

       In this case the Bankruptcy court must also conduct a “fulsome investigation of the

facts” related to the indemnity. Wells Fargo disputes the applicability of the indemnification

by-laws to Lockwood’s guaranty and also disputes the legitimacy of a supporting declaration,

addressed in response to the Motion to Strike (D.E. 43), filed concurrently herewith. These

are both fact and legal issues which will need to be adjudicated in the Bankruptcy court and

Mud King provides clear guidance that an automatic stay may be extended to non-debtors

while these types of issues are resolved. Wells Fargo’s view that “[s]igning the Guaranty

was simply not part of Lockwood’s duties as a Director, officer or employee of LII” is both

incorrect, as well as irrelevant here, because this Court cannot make that determination. This

is for the Bankruptcy court to decide.

       Wells Fargo has not cited to any authority specifically holding a district court cannot

also grant a stay to defer to a bankruptcy court’s ultimate determination on substantive issues

related to a stay. Extending the stay will also be more efficient use of judicial resources. This

District Court action should not proceed unless and until it is determined in the bankruptcy

court whether Lockwood’s indemnity claim is viable against the debtors, and the effect of

that claim on other creditors, particularly where contractual indemnity provisions tie debtors

to Lockwood in such a fundamental way. This determination is ultimately for the bankruptcy




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court to decide. This Court should stay its proceedings while Lockwood’s indemnity claims are

presented and decided in the bankruptcy court.

                                     Respectfully submitted,

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                                     ATTORNEYS FOR THIRD PARTY
                                     DEFENDANT MICHAEL F. LOCKWOOD

                              CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that service of the foregoing was automatically accomplished
on all counsel of record through the CM/ECF Notice of Electronic filing, in accordance with
the Federal Rules of Civil Procedure on this 16th day of February, 2018.

                                            /s/ Francis I. Spagnoletti
                                            Francis I. Spagnoletti




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